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Wesley Green Clerk U.S. District Court
Northern District of Ohio
PO Box 861 Cleveland
Waynesboro, VA 22980

March 16, 2020

Honorable Magistrate Judge Thomas M. Parker

United States District Court Northern District of Ohio Eastern Division
801 West Superior Ave.

Courtroom 11B

Cleveland, OH 44113-1845

RE: United States of America vs. Charles Vaccaro Case No. 1:19-mj-03190

Dear Honorable Judge Parker:

| am writing you as a shareholder of Pot Network Holdings, or POTN as it is known under it’s Over the
Counter Symbol. | have been a shareholder for over two years, and was greatly disturbed to learn of the
FBI charges involving the defendant & aforementioned company in United States of America vs. Charles
Vaccaro.

Mr. Vaccaro has been granted more than one continuance to protect his rights to a fair trial. May | ask
the court to please consider that a further delay of this trial is hindering Pot Network Holdings from
executing their business plan, and thus adversely impacting a multitude of investors’ interest in the
company’s stock as well?

Sincerely and respectfully,

Vo

Yo

Wesley Green
